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EXHIBIT C

Affidavit of Peter T. Paladino, Jr.
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AFFIDAVIT

My- name is Peter T. Paladino, Jr. Jama licensed attorney in the states of Pennsylvania,
Michigan, and New York. Prior to my retirement, J served on the Executive Committee (2007 to
2014) and as the President (2010 to 2014) of Goldberg, Persky, and White, P.C. (“GPW”). Since
1983, GPW’s main area of practice has been the representation of victims of asbestos-related
disease resulting from their occupational exposure to asbestos. I am providing this affidavit to
support a petition for an award of Common Benefit funds from the NFL Concussion litigation
settlement to Goldberg, Persky, and White, P.C.

In 2000, GPW hired Jason E. Luckasevic as an associate attorney in its Pittsburgh office.
Jason began representing our clients at depositions, conducting discovery, and arguing motions
for summary judgment and quickly took on a role managing a caseload that involved him taking
responsibility for the litigation of cases from inquiry through discovery to trial or eventual
resolution.

In approximately 2007, Jason approached the GPW shareholders with his idea of a
lawsuit against the NFL on behalf of retired football players for long-term injuries sustained after
years of repeated sub-concussive and concussive head trauma, Jason presented the shareholders
with a comprehensive understanding of the medical literature regarding brain injuries associated
with football, as well as his legal analysis for the basis for causes of action against the NFL.
Understanding the breadth of resources and pervasive influence of the NFL, we anticipated that
any legal action against the NFL with such potential wide-ranging consequences would be.
vigorously defended and very costly in terms of money and manpower, While we encouraged
his inquiries and continued study of a potential area of litigation, we explained that our firm
would not be-willing to take the financial risk and expend the significant personnel resources
such an undertaking would require. After that meeting Jason began to seek out firms with which
to associate on potential litigation in order to consolidate resources, but without immediate
success due to similar concerns of other firms.

In April 2010, Jason (who had been elevated to shareholder status as of January 1, 2009)
updated the firm’s Executive. Committee with the developments that had taken place since he
first began researching and pursuing his ideas about a lawsuit against the NFL, including his
speaking engagement on the medical and legal issues related to repetitive head trauma in football
at a retired players’ seminar in Las Vegas, NV. At this time the Executive Committee agreed to
assign another attomey to assist Jason in his efforts to develop a viable case against the NFL,
Indeed, Jason ultimately secured litigation partners by cultivating associations with Russomanno
& Borrello and Tom Girardi, and on July 19, 2011, the Complaint in Maxwell v. NFL was filed
in Los Angeles County Superior Court, California -- the first case against the NFL seeking
damages for injuries sustained by retired football players resulting from years of sub-concussive
and concussive head trauma,
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Jason’s commitment to researching and understanding the facts surrounding the
medicine, the players, and the NFL in order to develop the legal theories that resulted in the NFL
Concussion litigation ultimately resulted in a significant shifting of firm resources, including
hiring of new personnel, to accommodate and encourage Jason’s pursuit and development of a
new area of litigation. In dedicating himself to this objective, Jason risked both his reputation
and the trajectory of his income, eventually choosing to step away from the firm’s lucrative
asbestos practice in order to spend the majority of his time developing the case against the NFL.
Without the dedication of Jason and GPW there would be no NFL Concussion litigation and no
Common Benefit fund. I believe that the facts as set forth above and in Jason Luckasevic’s
affidavit amply support an award of Common Benefit funds from the NFL Concussion litigation
settlement.

C ee te

Sista Paladipo, Jr,, Esquire

Sworn to and subscribed before me
this of August, 2016

Notarial Seal
Kimberly 3. Slebert, Notary Public
City of Pittsburgh, Allegheny County

My Commission Explres June 27; 2017

TENDER, PENNSYLVANIA ASSOCIATION OF NOTARIES

